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                                         U.S. Department of Justice
[Type text]
                                                 United States Attorney
                                                 Southern District of New York

                                                 The Silvio J. Mollo Building
                                                 One Saint Andrew’s Plaza
                                                 New York, New York 10007


                                                  February 17, 2023

BY ECF

The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

                 Re:     United States v. Lawrence Billimek
                         22 Cr. 675 (PGG)

Dear Judge Gardephe:

       The Government respectfully requests that the Court enter the attached Stipulation and
Order in this matter.


                                          Very truly yours,

                                          DAMIAN WILLIAMS
                                          United States Attorney

                                       by: /s/ Jason Richman               .
                                          Jason Richman
                                          Assistant United States Attorney
                                          (212) 637-2589
